Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 1of 35

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA — ORLANDO DIVISION

CASE NO. 6:19-bk-01945-KSJ
CHAPTER 7
IN RE:

STEVEN HERMAN ALLEN and
BLESSY ALLEN,

Debtors
BAYVIEW LOAN SERVICING, LLC’S

MOTION FOR RELIEF FROM THE AUTOMATIC STAY
(Re: 62 BURNT MEADOW RD, RINGWOOD, NEW JERSEY 07456)

 

 

NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
notice or hearing unless a party in interest files a response within 21 days from the date set forth on the
attached proof of service, plus an additional three days for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at
George C. Young Federal Courthouse, 400 West Washington Street, Suite 5100, Orlando, FL 32801, and
serve a copy on the movant’s attorney, Marc G. Granger, Esq., at Kahane & Associates, P.A., 8201 Peters
Road, Ste 3000, Plantation, FL 33324, and any other appropriate persons within the time allowed. If you file
and serve a response within the time permitted, the Court will either schedule and notify you of a hearing, or
consider the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do not oppose the

relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may
grant the relief requested.

COMES NOW, Bayview Loan Servicing, LLC, its Successors and/or Assigns (“Secured
Creditor”), by and through its undersigned counsel, moves for Relief from the Automatic Stay
and states as follows:

1. The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP
4001(a) and the various other applicable provisions of the United States Bankruptcy Code,

Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

19-00976 BLS
V13.20190516

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 2 of 35

2. The Debtors listed above (the “Debtors’”) filed a voluntary petition pursuant to
Chapter 7 of the Bankruptcy Code on March 26, 2019.

3. Secured Creditor holds a security interest in the Debtors’ non-exempt real property
located at 62 Burnt Meadow Rd, Ringwood, New Jersey 07456, by virtue of a Mortgage dated
April 23, 2012, which was recorded in the Public Records of Passaic County, New Jersey, on
May 3, 2012, in Official Records Book M11970, Page 186. Said Mortgage secures a Note in the
amount of $303,490.00. See Exhibit “A” attached hereto.

4. The aforementioned Mortgage gives Secured Creditor a first mortgage position on

said property, legally described as:

All that certain tract or parcel of land, situated, lying and being in the Borough of
Ringwood in the County of Passaic and the State of New Jersey, more particularly
described as follows:

Being known and designated as Lot 9 in Black 223 as shown upon a map entitled
Subdivision Plat No., Section One Cragmere Estates", Borough of Ringwood. Passaic
County, NJ’, which map was filed in the Passaic County Registers Office on April 13, 1970
as Map No. 2529.

Being further described as follows:

Beginning a point on the Easterly side line of Burnt Meadow Road marking the
Northwesterly corner of Lot 9 in Block 223 as shown on a certain map entitled "Subdivision
Plat, Section One, Cragmere Estates, Borough of Ringwood Passaic County, NJ" which map
was filed in the Passaic County Register's Office on April 13, 1970 as Map No. 2529, said
beginning point being a survey tie line of South 3 degrees 05 minutes 03 seconds East,
378.26 feet from a concrete monument found on said sideline marking a point of curve on
Lot 12 in Block 223, and running thence

(1) North 84 degrees 57 minutes 00 seconds East, 289.94 feet, thence
(2) South 24 degrees 12 minutes 30 seconds East 100.00 feet, thence

(3) South 66 degrees 31 minutes 48 seconds West, 303.85 feet to a point on the Easterly
side tine of Burnt Meadow Road, thence,

(4) Upon said side line in a general Northerly direction on a curve to the right having a
radius of 681.91 feet, a central angle of 16 degrees 19 minutes 08 seconds, for an arc
length distance of 194.221 feet to the point and piace of beginning.

Being known as Lot 9, Block 223 of the Official Tax Map of the Borough of Ringwood.

19-00976 BLS
V13,20190516
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 3 of 35

5. The Debtors are indebted to Secured Creditor in the amount of $303,978.49
principal balance, plus any additional interest, advances, costs and attorneys’ fees advanced by
Secured Creditor, pursuant to the loan documents.

6. Upon information and belief, said property has not been claimed exempt and,
pursuant to the duly filed Statement of Intentions, the property is being surrendered. The
property has not been abandoned by the Trustee.

7. According to the Debtors’ Schedule D, the estimated market value of the subject
property is $368,969.00. See Exhibit “B” attached hereto.

8. Secured Creditor’s security interest in the subject property is being significantly
jeopardized by the Debtors’ failure to make regular payments under the subject loan documents
while Secured Creditor is prohibited from pursuing lawful remedies to protect such security
interest.

9. The Debtors have failed to remit payment to Secured Creditor since the installment
due on February 1, 2019.

10. Secured Creditor maintains that cause exists pursuant to 11 U.S.C. § 362(d)(1) for
the automatic stay to be lifted to allow Secured Creditor to pursue its in rem remedies.

11. Secured Creditor respectfully requests the Court waive the fourteen (14) day stay of
the Order Granting Relief pursuant to Bankruptcy Rule 4001(a)(3), so the Secured Creditor can
pursue its in rem remedies without further delay.

12. Secured Creditor moves the Court for an Order terminating the pending automatic
stay to allow Secured Creditor to send to any party or parties protected by the automatic stay any
and all notices required by applicable state and/or federal law or regulation. Secured Creditor

further moves the Court to terminate the automatic stay to allow Secured Creditor to take such

19-00976 BLS
V13.20190516
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 4 of 35

actions with respect to the Property as are provided for under applicable non-bankruptcy law,
including but not limited to, informing Debtors of any loan modification, short sale, or other loss
mitigation options.

WHEREFORE, Secured Creditor respectfully requests that the automatic stay be lifted
so that it may pursue in rem remedies to protect its security interests in the Debtors’ property
outside of the bankruptcy forum, and that the fourteen (14) day stay of the Order Granting Relief

pursuant to Bankruptcy Rule 4001(a)(3) be waived.

 

DATED this 9 day of Sig hemo , 2019,

Respectfully Submitted,

Kahane & Associates, P.A.
8201 Peters Road, Suite 3000
Plantation, Florida 33324
Telephone: (954) 322-3486
Telefacsimile: (9

   

By:
@ Mare Granger, Esq., Fla. Bar No.: 146870
(] Gregg S. Ahrens, Esq., Fla. Bar No.: 352837
L) Taji Foreman, Esq., Fla. Bar No.: 58606

 

19-00976 BLS
V13.20190516
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 5 of 35

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
Ocayor_Sepherbe
filed and/or mailed to all parties listed below this 5 day of /

2019.

Steven Herman Allen
14536 Golden Harbor Lane
Winter Garden, Florida 34787

Blessy Allen
14536 Golden Harbor Lane
Winter Garden, Florida 34787

Bogin, Munns & Munns, P.A.
Hurley Partin Whitaker II, Esq.,
Attorney for Debtors

Post Office Box 2807

Orlando, Florida 32802

Gene T. Chambers, Trustee
P.O. Box 533987
Orlando, Florida 32853

U.S. Trustee

United States Trustee — ORL 7/13, 7
Office of the United States Trustee
George C Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801

Respectfully Submitted,

Kahane & Associates, P.A.

8201 Peters Road, Suite 3000
Plantation, Florida 33624
Telephone: (954) 282- #
Telefacsimile: ( Le 5380

=

 
         
 

By: £
» Mare &% Granger, Esq., Fla. Bar No.: 146870
O Gregg S. Ahrens, Esq., Fla. Bar No.: 352837
O Taji Foreman, Esq., Fla. Bar No.: 58606

 

19-00976 BLS
V13.20190516
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 6 of 35

Note

 

April 23, 2012 RINGWOOD NJ
[Date] [City] [State]
62 BURNT MEADOW RD, RINGWOOD, NJ 07456
[Property Address]

4. Borrower's Promise to Pay. In return for a loan that I have received, I promise to pay U.S. $303,490.00 (this amount
iscalled “Principal”, plus interest, to the order of the Lender. The Lender is JPMorgan Chase Bank, N.A.. I will make all
payments under this Note in the form of cash, check or money order.

understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is entitled
to receive payments under this Note is called the “Note Holder”.

2. Interest. Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest
ata yearly rate of 4.500%.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(B)
of this Note.

3. Payments.
{A) Time and Place of Payments. I will pay principal and interest by making a payment every month.

I will make my monthly payment on the 1st day of each month beginning on June 1, 2012. I will make these payments
every month until I have paid all of the principal and interest and any other charges described below that Imay owe under
this Note. Bach monthly payment will be applied as of its scheduled due date and will be applied to interest before
Principal. If, on May 1, 2042, I still owe amounts under this Note, I will pay those amounts in full on that date, which is
called the “Maturity Date”’.

I will make my monthly payments at P.O. Box 78420, Phoenix, AZ 85062-8420 or ata different place if required by the
Note Holder.

(B) Amount of Monthly Payments. My monthly payment will be in the amount of U.S. $1,537.74.
4. Borrower's Right to Prepay.

Ihave the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
“Prepayment”. When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a
payment as a Prepayment if I have not made all the monthly payments due under the Note.

[may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my
Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the
Principal amount of the Note. If I make a partial Prepayment, there will be no changes in the due date or in the amount of
my monthly payment unless the Note Holder agrees in writing to those changes.

5, Loan Charges. If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that
the interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then:
(a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any
sums already collected from me which exceeded permitted limits will be refunded to me. The Note Holder may choose to
make this refund by reducing the Principal I owe under this Note or by making a direct payment to me. If a refund reduces
Principal, the reduction will be treated as a partial Prepayment.

6, Borrower's Failure to Pay as Required.

 

   

ff codterne
. Form 3200 (1/01)
wi

Pago 1 of 3

VMP® -
Wollers Kluwer Financial Services

 

 
 

Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 7 of 35

 

(A) Late Charge for Overdue Payments. Ifthe Note Holder has not received the full amount ofany monthly payment
by the end of Fifteen calendar days after the date it is due, I will pay a late charge to the Note Holder. The amount of the
change will be 5.000% of my overdue payment of principal and interest. I will pay this late charge promptly but only
once on each late payment.

(B) Default. If I do not pay the full amount of each monthly payment on the date it is due, I will be in default.

(C) Notice of Default. If] am in default, the Note Holder may send me a written notice telling me that ifI do not pay
the overdue amount by a certain date, the Note Holder may require me to pay immediately the fnll amount of Principal
which has not been paid and all the interest that I owe on that amount. That date must be at least 30 days after the date
on which the notice is mailed to me or delivered by other means.

(D) No Waiver By Note Holder. Even if, at a time when I am in default, the Note Holder does not require me to pay
immediately in full as described above, the Note Holder will still have the right to do so ifT am in default ata later time.

({E) Payment of Note Holder’s Costs and Expenses. If the Note Holder has required me to pay immediately in
full as described above, the Note Holder will have the right to be paid back by me for all of its costs and expenses in
enforcing this Note to the extent not prohibited by applicable law. Those expenses include, for example, reasonable
attorneys’ fees.

7. Giving of Notices. Unless applicable law requires a different method, any notice that must be given to me under this
Note will be given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different
address if I give the Note Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first class
mail to the Note Holder at the address stated in Section 3(A) above or at a different address if I am given a notice of that
different address.

8, Obligations of Persons Under This Note. If more than one person signs this Note, each person is fully and personally
obligated to keep all of the promises made in this Note, including the promise to pay the full amount owed. Any person who
isa guarantor, surety or endorser of this Note is also obligated to do these things. Any person who takes over these obligations,
including the obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made
in this Note. The Note Holder may enforce its rights under this Note against each person individually or against all of us
together. This means that any one of us may be requited to pay all of the amounts owed under this Note.

9. Waivers. I and any other person who has obligations under this Note waive the rights of Presentment and Notice of
Dishonor. “Presentment” means the right to require the Note Holder to demand payment of amounts due. “Wotice of
Dishonor” means the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

40. Uniform Secured Note. This Note is a uniform instrument with limited variations in some jurisdictions. In addition
to the protections given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the “Security
Instrument”), dated the same date as this Note, protects the Note Holder from possible losses that might result if I do not
keep the promises which I make in this Note. That Security Instrument describes how and under what conditions I may be
- required to make immediate payment in full of all amounts I owe under this Note. Some of those conditions are described
as follows:
[fall or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural person
and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written consent, Lender may require
immediate payment in full of all sums secured by this Security Instrament. However, this option shall not be exercised
by Lender if such exercise is prohibited by Applicable Law.
If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a period of
not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay
all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.

VMP®
Wollors Kluwer Financial Servicas Ene Pagp 2 of 3

     

 

 

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 8 of 35

 

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

 

 

 

 

 

 

 

 

Borrower
Lt bho
STEVEN ALLEN Date
Seal
Pay to the Order of:
Without Recourse
JPMorgan Chase Bank, N.A. I a
By: fo ee
Brian Warren / Assistant Secretary
/
MULTISTATE FIXED RATE NOTE-Single Family-Fannte Mae/Freddia Mac UNIFORM INSTRUMENT if. ‘| Form 3200 (1/01)

 

 

 

Vining v
Wollers Kluwer Finandial Services CLL Inflotss = Pago 3013

    

 

 
STATE OF LOUISIANA

PARISH OF OUACHITA

Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 9 of 35

 

AFFIDAVIT OF LOST NOTE

Loan Number:

Borrower’s Name: STEVEN ALLEN

I, Lane Doss, the undersigned, being duly sworn, state as follows:

Jam an Assistant Vice President of JPMorgan Chase Bank, N.A. (“Chase”).

Chase is the custodian of the collateral documents described in paragraph 4 below
(the “Loan”). Chase is the party seeking to enforce the note described below.

J have access to certain of Chase’s business records, including the business
records of Chase and JPMorgan Chase Custody Services, Inc., a subsidiary of
Chase, concerning the Loan. These records are maintained by Chase in the
ordinary course of its regularly conducted business activities and are made at or
near the time of the event, by or from information transmitted by a person with
knowledge. It is the regular practice to keep such records in the ordinary course of
a regularly conducted business activity. I make this affidavit based upon my
review of those records.

A note dated April 23, 2012, in the original principal amount of $303,490.00, with
an original interest rate of 4.500% per annum, providing for initial monthly
payments in the amount of $1,537.74, was executed by STEVEN ALLEN, and
secured by a Mortgage dated April 23, 2012 and recorded in the office of the
Clerk of Passaic County, New Jersey in Book M11970 at Page 186 or as
Instrument no. 2012022007.

Chase’s regular business practice is to store original notes secured by mortgages
and deeds of trust in collateral files maintained by Chase’s agent, JPMorgan
Chase Custody Services, Inc., in a secure vault facility in Monroe, Louisiana.
After a thorough and diligent manual search of the hard copy collateral file
pertaining to the loan and the credit file, which contains other documents
maintained by Chase concerning the Loan, the original note was not located.

 

 

LNA-093012v3

 

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 10 of 35

 

 

Loan Number:

Borrower’s Name: STEVEN ALLEN

6. The business records described above reflect that the note was in JP Morgan
Chase Custody Services, Inc.’s possession at the time it was lost or destroyed.

(2 The loss of possession is not the result of the original note being canceled or
transferred to another party.

8. A copy of the original note is attached hereto.

JPMorgan Chase Bank, NA

Aral,

Name: ‘Lane Doss

Title: Assistant Vice President

Date: bbe DoH aD (Cf |

Subscribed and swom to before me

 

this 22 dayof October, 20%, by
Lane Doss.
la | — EVA REESE
_ OUACHITA VARISH LOUISIANA
ba Ee Ae iss
Notary Public

State of Louisiana

My commission expires: Lifetime
Personally known a” _OR

Produced identification Wh.
Type of identification produced: “WY i

LNA-093012v3

 

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 11 of 35

Loan Number: [a
Borrower’s Name: STEVEN ALLEN

Attachment 1
(Copy of Note)

 

 

LNA-093012v3

 

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 12 of 35
| :
AT iT

 

Inst. # 2012022007 - Page 3 of 19
KRISTIN M. CORRADO
CLERK
PASSAIC COUNTY
New Jexsey

INSTRUMENT NUMBER
2012022007
Return To: JPMorgan Chase Bank, N.A. RECORDED ON
Collateral Trailing Documents ‘un eee
P.O. Box 8000 - Monroe, LA 71203 ScneEqa16 PAGE: 186

Prepared By: Manny Martinez Total, Pages: 19

 

 

1820 E Sky Harbor Circle S Fir 2 NJ PRESERVATION ACCOUNT $85.00
Phoenix, AZ 85034 RECORDING FEES ~ $105.00
Cnix, RECORDER OF DEEDS
HOMELESSNESS TRUST FUND $3.00
TOTAL PAID $193.00
Mortgage INV: 917461 USER: LH

 

 

 

Definitions. Words used in multiple sections of this document are defined below and other words are
defined in Sections 3, 11. 13, 18, 20 and 21. Certain rules regarding the usage of words used in this
document are also provided in Section 16.

(A) “Security Instrument” means this document, which is dated April 23, 2012. together with all
Riders to this document.

(B) “Borrower” is Steven Allen and Blessy Allen, husband and wife. Borrower is the mortgagor
under this Security Instrument.

(C) “Lender” is JPMorgan Chase Bank, N.A.. Lender is a National Banking Association organized
and existing under the laws of the United States. Lender's address is 1111 Polaris Parkway, Floor 4J,
Columbus, OH 43240 . Lender is the mortgagee under this Security Instrument.

(D) “Note” means the promissory note signed by Borrower and dated April 23,2012. The Note states
that Borrower owes Lender three hundred three thousand four hundred ninety and 00/100 Dollars
(U.S. $303,490.00) plus interest. Borrower has promised to pay this debt in regular Periodic Payments
and to pay the debt in full not fater than May 1, 2042.

(E) “Property” means the property that is described below under the heading "Transfer of Rights nm
the Property."

(Ff) “Loan” means the debt evidenced by the Note, plus unterest, any prepayment charges and late
charges due under'the Note, and all sums due under this Security Instrument, plus interest.

(G) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower [check box as applicable]:

CO Adjustable Rate Rider C1 Condommium Rider () Second Home Rider
C1 Balloon Rider O Planned Unit Development Rider O 1-4 Family Rider
O VA Rider O Biweekly Payment Rider C Other(s) (specify]

NEW JERSEY-Singla Famlly-Fannia MaaFreddie Mac UNIFORM INSTRUMENT | l ae
VMPO 1
Wolters Kluwer Finatiaa Services —— Indinto Pago t of 4

      
 

 
 

(H) “Applicable Law” means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable
final, non-appealable judicial opinions,

(1) “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments and
other charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

(J) “Electronic Funds Transfer” means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to
debit or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated
teller machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
transfers.

(K) “Escrow Items” means those items that are described in Section 3.

(L) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds
paid by any third party (other than insurance proceeds paid under the coverages described in Section
5) for: (i) damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any
part of the Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or
omissions as to, the value and/or condition of the Property.

(M) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default
on, the Loan. °

(N) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest under
the Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(O) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and
its implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from
time to time, or any additional or successor legislation or regulation that governs the same subject
matter. As used in this Security Instrument, RESPA refers to all requirements and restrictions that
are imposed in regard to a "federally related mortgage loan" even if the Loan does not qualify as a
"federally related mortgage loan" under RESPA.

(P) “Successor in Interest of Borrower” means any party that has taken title to the Property, whether
or not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

Transfer of Rights in the Property. This Security Instrument secures to Lender: (i) the repayment
of the Loan, and all renewals, extensions and modifications of the Note; and (ii) the performance of
Borrower's covenants and agreements under this Security Instrument and the Note. For these purposes,
Borrower does hereby mortgage, grant and convey to Lender the following described property located
in the COUNTY [Type of Recording Jurisdiction] of Passaic [Name of Recording Jurisdiction}: See
Attached Property Account Number jgg@S@@aQR@00098 which currently has the address of 62 BURNT
MEADOW RD [Street] RINGWOOD [City], New Jersey 07456 [Zip Code] ("Property Address"):

Aa.

 

NEW JERSEY-Singla Family-Fannie Mae/Freddla Mac UNIFORM INSTRUMENT Ferm =
VMP® omit
Wollers Kluwer Financlal Services | Inttials: Page 2 of 18

 
 

 
 

 

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,

‘appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall
also be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument
as the "Property."

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
right to mortgage, grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property against
all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering

real property.
Uniform Covenants. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U,S.
currency. However, if any check or other instrament received by Lender as payment under the Note or
this Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent
payments due under the Note and this Security Instrument be made in one or more of the following forms,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
cashier’s check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such
other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient
to bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the
Loan current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or
partial payments in the future. If Lender accepts such payments, it shall apply such payments at the time
such payments are accepted. No offset or claim which Borrower might have now or in the future against
Lender shall relieve Borrower from making payments due under the Note and this Security Instrument
or performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order in which it became due. Any remaining amounts
shall be applied first to late charges; second to any other amounts due under this Security Instrument,
and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late
charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from

 

NEW JERSEY-Singla Family-Fannle Mae/Freddio Mac UNIFORM INSTRUMENT Form 3037 4/01
VMP®
Wollers Kluwer Financial Services EESSSSSe=== Initials:

    

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 15 of 35
1 (a

Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid
‘in full. To the extent that any excess exists after the payment is applied to the full payment of one or
more Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments
shall be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as
a lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any;
(c) premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
Items." At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts
to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender
waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only
be in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the
amounts due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender
requires, shall furnish to Lender receipts evidencing such payment within such time period as Lender
may require. Borrower's obligation to make such payments and to provide receipts shall for all purposes
be deemed to be a covenant and agreement contained in this Security Instrument, as the phrase "covenant
and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to
a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights
under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to
Lender any such amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a
notice given in accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender'all
Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal
Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified
under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually analyzing
the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds
and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing or

 

ee |
NEW JERSEY-Single Famlly-Fannie Mae/Freddle Mac UNIFORM INSTRUMENT 3034°1/01
VMP® oun
Wollers Kluwer Financtal Services Ee) Initials: Page 4 of 16

 

 
 

Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
‘any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower
for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined
under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender
the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly
payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify
Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable
to the Property which can attain priority over this Security Instrument, leasehold payments or ground
rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the
extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate
to prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lien to this Security Instrument. If Lender determines that any part of the Property is subject to a lien
which can attain priority over this Security Instrument, Lender may give Borrower a notice identifying
the lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or take
one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Property insured against loss by fire, hazards included within the term "extended coverage,” and any
other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term
of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
tight to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for flood zone
determination, certification and tracking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification. Borrower shall also be responsible for the

 

 
   
  

NEW JERSEY-Single Family-Fannie Mae/Fraddle Mac UNIFORM INSTRUMENT Form 3031:1/01

VMP® Q4i41
Wolters Kluwer Financlal Services = ae Pago 5 of 16

  
 

Case 6:19-bk-01945-KSJ Doc 21 _ Filed 09/05/19 Page 17 of 35

payment of any fees imposed by the Federal Emergency Management Agency in connection with the
‘review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage,
at Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type
or amount of coverage. Therefore, such coverage shall cover Lender, but might or might not protect
Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk, hazard-or
lability and might provide greater or lesser coverage than was previously in effect. Borrower acknowledges
that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance that
Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall become
additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the
Note rate from the date of disbursement and shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right
to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee
and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal certificates.
If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and renewal
notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for
damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and shall
name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened. During such repair and restoration period, Lender shall have the right
to hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure
the work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken
promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed. Unless an agreement is made in writing or Applicable
Law requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower
any interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.
If the restoration or repair is not economically feasible or Lender's security would be lessened, the
insurance proceeds shall be applied to the sums secured by this Security Instrument, whether or not then
due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the-order
provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
and related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period
will begin when the notice is given. In either event, or if Lender acquires the Property under Section 22
or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an
amount not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other

 

|
NEW JERSEY-Single Famlly-Fannie Mae/Freddie Mae UNIFORM INSTRUMENT Form 3031'4/01
VMP® a1

Iniltais:

Wolters Kluwar Financial Services Es Page 6 of 16

        

 

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 18 of 35

 

 

of Borrower's rights (other than the right to any refund of unearned premiums paid by Borrower) under
‘all insurance policies covering the Property, insofar as such rights are applicable to the coverage of the
Property. Lender may use the insurance proceeds either to repair or restore the Property or to pay amounts
unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property
as Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise
agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances
exist which are beyond Borrower's control.

7, Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall
not destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed. If the insurance or condemnation proceeds are not
sufficient to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the
completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable
cause, Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower
notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge
or consent gave materially false, misleading, or inaccurate information or statements to Lender (or failed
to provide Lender with material information) in connection with the Loan. Material representations
include, but are not limited to, representations concerning Borrower's occupancy of the Property as
Borrower's principal residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security
Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this Security
Instrument, (b) there is a legal proceeding that might significantly affect Lender's interest in the Property
and/or rights under this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation
or forfeiture, for enforcement of a lien which may attain priority over this Security Instrument or to
enforce laws or regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay
for whatever is reasonable or appropriate to protect Lender's interest in the Property and rights under this
Security Instrument, including protecting and/or assessing the value of the Property, and securing and/or
repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured
by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument, including

 

NEW JERSEY-SIngla Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Farm 3031 1/01

VMP® owt
Wolters Kluwer Financial Services eS Page 7 of 16

InlUals:

        

 

 
 

Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 19 of 35

its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
‘entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is
not under any duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any
or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured
by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement
and shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
If Borrower acquires fee title to the Property, the leasehold and the fee title shal] not merge unless Lender
agrees to the merger in writing.

40. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer
that previously provided such insurance and Borrower was required to make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost
substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an
alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage
is not available, Borrower shall continue to pay to Lender the amount of the separately designated
payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and
retain these payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve
shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall
not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer
require loss reserve payments if Mortgage Insurance coverage (in the amount and for the period that
Lender requires) provided by an insurer selected by Lender again becomes available, is obtained, and
Lender requires separately designated payments toward the premiums for Mortgage Insurance. If Lender
required Mortgage Insurance as a condition of making the Loan and Borrower was required to make
separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the
premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve,
until Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between
Borrower and Lender providing for such termination or until termination is required by Applicable Law.
Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is nota party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
into agreements with other parties that share or modify their risk, or reduce losses. These agreements are
on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
these agreements. These agreements may require the mortgage insurer to make payments using any

 

 
 
    

NEW JERSEY-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3031 1/01
VMP® oti

Wolters Kluwar Financlat Services —_——————— | Iniitats: Page 6 of 16

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 20 of 35

 

 

source of funds that the mortgage insurer may have available (which may include funds obtained from
“Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed "captive reinsurance." Further:

(A) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the
amount Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any
refund.

(B) Any such agreements will not affect the rights Borrower has - if any ~ with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These
rights may include the right to receive certain disclosures, to request and obtain cancellation
of the Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or
to receive a refund of any Mortgage Insurance premiums that were unearned at the time of
such cancellation or termination.

41. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until
Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender's
satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs
and restoration in a single disbursement or in a series of progress payments as the work is completed.
Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security
would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous
Proceeds shall be applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess,
if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
than the amount of the sums secured by this Security Instrument immediately before the partial taking,
destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured
by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by

ty.

NEW JERSEY-Single Family-Fannle Mae/Freddie Mac UNIFORM INSTRUMENT iat

VMP® ott
Wolters Ktuwar Financial Services eres

Initlats: Page 9 of 18

      

 

 
 

Case 6:19-bk-01945-KSJ Doc 21 _ Filed 09/05/19 Page 21 of 35

the following fraction: (a) the total amount of the sums secured immediately before the partial taking,
“destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is less than the amount
of the sums secured immediately before the partial taking, destruction, or loss in value, unless Borrower
and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured
by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower
fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect
and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured
by this Security Instrument, whether or not then due. "Opposing Party" means the third party that owes
Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to
Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's
interest in the Property or rights under this Security Instrument. Borrower can cure such a default and,
if acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to
be dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by
Lender to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of
Borrower or any Successors in Interest of Borrower. Lender shall not be required to commence proceedings
against any Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify
amortization of the sums secured by this Security Instrument by reason of any demand made by the
original Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in exercising
any right or remedy including, without limitation, Lender's acceptance of payments from third persons,
entities or Successors in Interest of Borrower or in amounts less than the amount then due, shall not be
a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower
covenants and agrees that Borrower's obligations and liability shall be joint and several. However, any
Borrower who co-signs this Security Instrument but does not execute the Note (a "co-signer’): (a) is
co-signing this Security Instrument only to mortgage, grant and convey the co-signer's interest in the
Property under the terms of this Security Instrument; (b) is not personally obligated to pay the sums

 

 
  
 

NEW JERSEY-Single Family-Fannle Mae/Freddle Mac UNIFORM INSTRUMENT Form 3031 1/01
Ott

VMP®
Wolters Kluwer Financial Services Se Inldats: Page 10 of 16

  

 
 

secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to
‘extend, modify, forbear or make any accommodations with regard to the terms of this Security Instrument
or the Note without the co-signer's consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of
Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release
in writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
Security Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees.
In regard to any other fees, the absence of express authority in this Security Instrument to charge a specific
fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not
charge fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borrower. Ifa refund.reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge (whether or nota
prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising
out of such overcharge.

15. Notices, All notices given by Borrower or Lender in connection with this Security Instrument must
be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
notice address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers
unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's
change of address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security Instrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection
with this Security Instrument shall not be deemed to have been given to Lender until actually received
by Lender. If any notice required by this Security Instrument is also required under Applicable Law, the
Applicable Law requirement will satisfy the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and

=

NEW JERS EY-Single Farilly-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3031 1/04
Pe 01/11
Wolters uwer Financial Sorvices L_]_ES=Sae =| Initials: Page 11 of 16

 

vM

     
    

 

 

 
 

obligations contained in this Security Instrument are subject to any requirements and limitations of
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or
it might be silent, but such silence shall not be construed as a prohibition against agreement by contract.
In the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
take any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,

"Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract
or escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument, However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide
a period of not less than 30 days from the date the notice is given in accordance with Section 15 within
which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained
in this Security Instrument; (b) such other period as Applicable Law might specify for the termination
of Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants
or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not
limited to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for
the purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and
(d) takes such action as Lender may reasonably require to assure that Lender's interest in the Property
and rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this
Security Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement
sums and expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money
order; (c) certified check, bank check, treasurer's check or cashier's check, provided any such check is

 

   

NEW JERSEY-Single Family-Fannle Mae/Freddie Mac UNIFORM INSTRUMENT Form 3031 1/01

VMP@
Wollers Kluwer Financial Services ——_—_=a Inldals:

 
 

 

drawn upon an institution whose deposits are insured by a federal agency, instrumentality or entity; or
(d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
secured hereby shall remain fully effective as if no acceleration had occurred. However, this right to
reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest
in the Note (together with this Security Instrument) can be sold one or more times without prior notice
to Borrower. A sale might result in a change in the entity (known as the "Loan Servicer") that collects
Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
servicing obligations under the Note, this Security Instrument, and Applicable Law. There also mightibe
one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of
the new Loan Servicer, the address to which payments should be made and any other information RESPA
requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan
is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are
not assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party's actions pursuant to this
Security Instrument or that alleges that the other party has breached any provision of, or any duty owed
by reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with
such notice given in compliance with the requirements of Section 15) of such alleged breach and afforded
the other party hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and
the following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(b) “Environmental Law" means federal laws and laws of the jurisdiction where the Property is located
that relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes any
response action, remedial action, or removal action, as defined in Environmental Law; and (d) an
"Environmental Condition" means a condition that can cause, contribute to, or otherwise trigger an
Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not
do, nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of
a Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding

 

NEW JERSEY-Single Family-Fannie Mae/Freddle Mac UNIFORM INSTRUMENT Form 3031 1/04
VMP® O11

Wolters Kluwer Financial Services ee) faltials: Page 13 of 16

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 25 of 35
WW) fi

£

two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
‘Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or
other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat
of release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of
a Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
by any governmental or regulatory authority, or any private party, that any removal or other remediation
ofany Hazardous Substance affecting the Property is necessary, Borrower shallipromptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

Non-Uniform Covenants. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower's breach of any covenant or agreement in this Security Instrument (but
not prior to acceleration under Section 18 unless Applicable Law provides otherwise). The
notice shall specify: (a) the default; (b) the action required to cure the default; (c) a date, not
less than 30 days from the date the notice is given to Borrower, by which the default must
be cured; (d) that failure to cure the default on or before the date specified in the notice may
result in acceleration of the sums secured by this Security Instrument, foreclosure by judicial
proceeding and sale of the Property; (e) the Borrower's right to reinstate after acceleration
and the right to assert in the foreclosure proceeding the non-existence of a default or any
other defense of Borrower to acceleration and foreclosure; and (f) any other disclosure required
under the Fair Foreclosure Act, codified at Sections 2A:50-53 et seq. of the New Jersey Statutes,
or other Applicable Law. If the default is not cured on or before the date specified in the
notice, Lender at its option may require immediate payment in full of all sums secured by
this Security Instrument without further demand and may foreclose this Security Instrument
by judicial proceeding. Lender shall be entitled to collect all expenses incurred in pursuing
the remedies provided in this Section 22, including, but not limited to, attorneys’ fees and
costs of title evidence permitted by Rules of Court.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall cancel this
Security Instrument. Borrower shal! pay any recordation costs. Lender may charge Borrower a fee for
releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and
the charging of the fee is permitted under Applicable Law.

24. No Claim of Credit for Taxes. Borrower will not make deduction from or claim credit on the
principal or interest secured by this Security Instrument by reason ofany governmental taxes, assessments
or charges. Borrower will not claim any deduction from the taxable value of the Property by reason of
this Security Instrument.

LY

NEW JERSEY’Single Family-Fannie Mae/Freddle Mac UNIFORM INSTRUMENT ST ee 5s
VMP® oti
Wollers Kluwer Financial Services LSE Inidats: ‘ Page 14 of 16

 

 
 

Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 26 of 35

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security
‘ Instrument and in any Rider executed by Borrower and recorded with it.

 

 

Borrower
Y 3 /o—
STEVEN ALLEN Date
Seal
Yluno, Clin WA3//2.
BLESSY EN * Date
*Non-Applicant Title Holder Seal
This documentavasyigned and delivered in front of

 

Witness

 
    
   

PAUL GIACHINO p
Notary Public p
State of New Jersey }

My Commisslon Expires Apr 29, 2074
Py

 

 

 
  
  

a a a

NEW JERSEY-Singte Famlly-Fannle Mae/Freddie Mac UNIFORM INSTRUMENT
01/11

VMP®
Wolters Kiuwer Financial Services | Pago 15 of 16

  
 

Case 6:19-bk-01945-KSJ_ Doc 21 Filed 09/05/19 Page 27 of 35

Acknowledgment
State of New Jersey

County of Passaic

! *~
On_A PALL 23, 2042 © 0 , before me, Lite Gi Aik © ,aNotary
Public, personally appeared

steven Nher)
Bhkessy AL les)

who, I am satisfied, is/are the makers of the foregoing instrument, and acknowledged that he/she/they

executed the same as his/her/their own act.
e

Not Ic
My commission expires: 4- 2 9-1

Poul Giochino = 4-21 ay

PAUL GIAGHINO
Notary Public
State of New Jersey
My Commission Expires Apr 29, 2014

 

 

NEW JERSEY-Single Family:Fannie Mae/Freddie Mac UNIFORM INSTRUMENT roe
Wolters Kluwer Financlat Services Las Inltiale: Pogo 16 of 16

 
 

 
 

 

Order No.:
Loan No.:

Exhibit A

The following described property:

All that certain tract or parcel of land, situated, lying and being in the Borough of
Ringwood in the County of Passaic and the State of New Jersey, more particularly
described as follows:

Being known and designated as Lot 9 in Block 223 as shown upon a map entitled
Subdivision Plat No., Section One Cragmere Estates", Borough of Ringwood. Passaic
County, NJ', which map was filed in the Passaic County Registers Office on April 13, 1970
as Map No. 2529.

Being further described as follows:

Beginning a point on the Easterly side line of Burnt Meadow Road marking the
Northwesterly corner of Lot 9 in Block 223 as shown on a certain map entitled "Subdivision
Plat, Section One, Cragmere Estates, Borough of Ringwood Passaic County, NJ" which map
was filed in the Passaic County Register's Office on April 13, 1970 as Map No. 2529, said
beginning point being a survey tie line of South 3 degrees 05 minutes 03 seconds East,
378.26 feet from a concrete monument found on said sideline marking a polnt of curve on
Lot 12 in Block 223, and running thence

(1) North 84 degrees 57 minutes 00 seconds East, 289.94 feet, thence
(2) South 24 degrees 12 minutes 30 seconds East 100.00 feet, thence

(3) South 66 degrees 31 minutes 48 seconds West, 303.85 feet to a point on the Easterly
side line of Burnt Meadow Road, thence,

(4) Upon said side line in a general Northerly direction on a curve to the right having a
radius of 681.91 feet, a central angle of 16 degrees 19 minutes 08 seconds, for an arc
jength distance of 194.221 feet to the point and place of beginning.

Being known as Lot 9, Block 223 of the Official Tax Map of the Borough of Ringwood.

Assessor's Parcel No: mms
 

Case 6:19-bk-01945-KSJ Doc 21 _ Filed 09/05/19

 

Page 29 of 35

sea e

we eer ect
PEL Te ae

we otte
Sedge ars

nae
yares

 
 

Case 6:19-bk-01945-KSJ Doc 21 _ Filed 09/05/19 Page 300f35 |

Inst, # 2019021402

 

CLERK
PASSAIC COUNTY
New Jersey

INSTROMENT NUMBER

After recording please return to: 2019021402
JPMorgan Chase Bank, N.A, RECORDED ON
Collateral Trailing Docs, Chase Recording Centor May 17, 2019
700 Icansas Lane, RE-MC 8000 1:14:16 aM
Monroe, LA 71203 BOOK:AS660 PAGE:247

Total Pages: 5
Prepared by:

 

DANIELLE IRZLAND-IMHOF

 

 

NI PRESERVATION ACCOUNT $20.00
Cfoir~ Sbwsjd / RECORDING FEES ~ $40.00
Law Office of Adam W. Scheinbach RECORDER OF DEEDS
Adan Scheinbach sedi, iasoaia Sein is sds 08
2500 Jonson Avenue, Suite 8 = ~
Bronx, New York 19463
917-406-9846
PEIRSONPATTERSON, LLP
WILLIAM If. PEIRSON
4400 ALPHA ROAD

DALLAS, TX 75244-4505
860-899-9027

[Space Above This Line For Recording Data}

NEW JERSEY ASSIGNMENT OF MORTGAGE

For Value Received, JPMorgan Chase Bank, National Association, the undersigned holder of a Mortgage
(herein “Assignor”) does hereby grant, sell, assign, transfer and convey, unto Bayview Loan Servicing, LLC,
(herein “Assignee”), whose address is 4425 Ponee de Leon Blvd., Coral Gables, FL 33146, a certain
Mortgage dated April 23, 2012 and recorded on May 3, 2012, made and executed by STEVEN ALLEN AND
BLESSY ALLEN, to and in favor of JPMORGAN CHASE BANK, N.A,, upon the following described
property situated in- PASSAIC County, State of New Jersey:

Property Address; 62 BURNT MEADOW RD, RINGWOOD, NJ 07456

See exhibit "A" attached hereto and made a part hereof.

such Mortgage having been given to secure of U.S, Three Hundred Three Thousand Four Hundred Ninety
and 00/100ths ($303,490.00), which Mortgage is of record in Book, Volume, or Liber No, M11970, at Page(s) 186
(or as No. 2012022007), in the Office of the Register of Deeds and Mortgages of PASSAIC County, State of New

Jersey.

TO HAVE AND TO HOLD, the same unto Assignee, its successor and assigns, forever, subject only to the
terms and conditions of the above-described Mortgage.

 

New Jersey Assignment of Mortgage
JPMorgan Chase Bank NA. Project W5504 Page 1 of 2 LISIOSNJ 01/12 Kev, 02/14

Loan No,

 

 
 

Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 31 of 35

' Inst. # 2019021402

IN WITNESS WHEREOP, the undersigned Assignor has executed this Assignment of Mortgage on
_4-lo~Zord .

 

 

et Lay yy, Assignor:
oa" Chas, “% JPMovreaq Chase Bank, National Association
SW" EBS
SEES Gy % By:__( 1 ww
= in 4 Bz z QUATEADRA SMITH
= ms = ;
4 ER Ss lis: WICEPRESIDENT
“ *, a wt OS
Gy eens sft >
“ty Yorpsg08 ACKNOWLEDGMENT
Minn
State of Louisiana §
§
Parish of Ouachita §
+h
On this _[O = day of YV 44, Zo\4 . before me appeared
_QUATEADRA SRITH » to ine personally known, who,
being by me duly swom (or affirmed) did say that he/she is the E —_.. BE

JPMorgan Chase Bank, National Associntion, and that the seal affixed to said Instrument is the corporate seal
of said entity and that the instrument was signed and sealed on. behalf ofthe said entity by authority of its board’
of directors and that _Q\ATEADRA SMITH acknowledged the

instrument to be the free act and deed of the said entity.

 

 

eee Signature of Officer
EVA
OUACHITA PARISH, LOUISIANA Bon Reese
LIFETIME COMMISSION
NOTARY 10 If 17070 Printed Name
Rosary Pubihe
Title of Officer
(Seal) My Commission Expires: Lifetime

 

New Jersey Assignment of Mortgage
JPMorgan Clase Bank Nuk. Project W5504 Page 2 of2 L73108N 01/12 Rev. 02/14

 

 
Case 6:19-bk-01945-KSJ_ Doc 21 Filed 09/05/19 Page 32 of 35
Inst. # 2019021402
Exhibit “A”

The following described property:

All that certain tract or parcel of land, situated, lying and being in the Borough of
Ringwood in the County of Passaic and the State of New Jersey, more particularly
described as follows:

Being known and designated as Lot 9 tn Block 223 as shown upon a map entitled
Subdivision Plat No., Sectlon One Cragmere Estates", Borough of Ringwood. Passaic
County, NJ’, which map was’filed in the Passaic ‘County Registers Office an April 13, 1970
as Map No. 2529,

Being further described as follows:

Beginning a point on the Easterly side line of Burnt Meadow Road marking the
Northwesterly corner of Lot 9 in Block 223 as shown on a certain map entitled "Subdivision
Plat, Section One, Cragmere Estates, Borough of Ringwood Passalc County, NJ" which map
was filed in the Passalc County Register's Office on April 13, 1970 as Map No. 2529, sald
beginning point being a survey tle line of South 3 degrees 05 minutes 03 seconds East,
378.26. feet from a concrete monument fouhd on said sideline marking a point of curve on
Lot £2 in Blocle 223, and running thence

(4) North 84 degrees 57 minutes 00 seconds East, 289.94 feet, thence
(2) South 24 degrees 12 minutes 30 seconds East 100.00 feet, thence

(3) South 66 degrees 31 minutes 48 seconds West, 303,85 feet to a point on the Easterly
side line of Burnt Meadow Road, thence,

(4) Upon said side line in a generat Northerly direction on a curve to the right having a
radius of 681,91 feet, a central angle of 16 degrees 19 minutes 08 seconds, for an are
fength distance of 194,221 feet to the point and piace of beginning.

Being known as Lot 9, Block 223 of the Official Tax Map of the Borough of Ringwood.

Assessor's Parcel no:

 

 
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 33 of 35

Case 6:19-bk-01945-KSJ Doc1 Filed 03/26/19 Page 25 of 83

Fill in this information to identify your case:

Debtor 1 Steven Herman Allen

First Name

Blessy Allen

Middle Name Last Name

Debtor 2

 

(Spouse if, filing) First Name Middle Name Last Name

MIDDLE DISTRICT OF FLORIDA

United States Bankruptcy Court for the:

 

Case number
(if known)

 

 

3/26/19 4:14PM

OD Check if this is an

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two marrled people are fiting together, both are equally responsible for supplying correct Infarmation. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

01 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

& Yes. Fill in all of the information below.

GERRPME List All Secured Claims

amended filing

12/15

 

 

 

 

 

 

2. List all secured clalms. If a creditor has more than one secured claim, list the creditor separately Colin Coens Sora
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of clalm Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name. Do not deduct the that supports this portion
value of collateral. eclalm If any
24 Chase Mortgage Describe the property that secures the claim: $305,681.00 $368,969.00 $0.00
Creditors Name 62 Burnt Meadow Road Ringwood,
NJ 07456 Passaic County
Attn: Bankruptcy Dept Renta Troperty the claim ts: Check al thal
Po Box 24696 apply mee “ereceane
Columbus, OH 43224 O contingent
Number, Street, City, State & Zip Code DO unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
 pebtor 1 only C1 an agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
O Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien)
D) At teast one of the debtors and another = Judgment lien from a lawsuit
U1 Check if this claim relates to a OO other (including a right to offset)
community debt
Opened
04/12 Last
Active
Date debt was Incurred 12/20/18 Last 4 digits of account number 9259
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 3

Software Copyright (c) 1996-2019 Best Case, LLC - www bestcase. com

Besl Case Bankruptcy
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 34 of 35

Case 6:19-bk-01945-KSJ Doc1 Filed 03/26/19 Page 26 of 83

Debtor1 Steven Herman Allen

Case number (if known)

 

 

3/26/19 4:14PM

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
Debtor 2 Blessy Allen
First Name Middle Name Last Name
2.2 | Equiant/Thousand Trails Describe the property that secures the claim: $1,934.00 Unknown Unknown
Creditors Name Time Shared Loan
Attn: Bankruptcy Dept
7 f the dat file, th is:
5401 N Pima Rd Ste 150 oo e date you file, the clalm is: Check all that
Scottsdale, AZ 85250 O contingent
Number, Streel, City, Stale & Zip Code DO unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
BB pebtor 1 only 1 An agreement you made (such as mortgage or secured
car loan)
DO Debtor 2 only
C1 Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
D1 At ieast one of the debtors and another O Judgment lien from a lawsuit
OO Check if this claim relates to a O other (including a right to offset)
community debt
Opened
01/13 Last
Active
Date debt was incurred 12/10/18 Last 4 digits of account number 6841
[2.3 | Flagstar Bank Describe the property that secures the claim: $275,419.00 $316,674.00 $0.00
Creditors Name 14536 Golden Harbor Lane Winter
Garden, FL 34787 Orange County
Attn: Bankruptcy - —
. As of the date you file, the claim is: Check all that
5151 Corporate Drive apply.
Troy, MI 48098 _ L1 Contingent
Number, Street, City, State & Zip Code UO unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
BB pebtor 4 only C1 An agreement you made (such as mortgage or secured
car loan)
DO Debtor 2 only
C Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
D1 At least one of the debtors and another §=- Judgment lien from a lawsuit
C1 Check if this claim relates to a 0 other (including a right to offset)
community debt
Opened
12/17 Last
Active
Date debt was incurred 12/21/18 Last 4 digits of account number 6182
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

Best Case Bankruptcy
Case 6:19-bk-01945-KSJ Doc 21 Filed 09/05/19 Page 35 of 35

Case 6:19-bk-01945-KSJ Doc1 Filed 03/26/19 Page 27 of 83

 

3/2619 4:14PM

 

 

 

Debtor1 Steven Herman Allen Case number (if known)
First Name Middle Name Last Name
Debtor2 Blessy Allen
First Name Middle Name Last Name
[ 2.4 | Synchrony/Kawasaki Describe the property that secures the claim: $5,898.00 $4,360.00 $1,538.00
Creditors Name 2017 Kawasaki Volcan S 2789 miles

VIN JKAENEC16HDA00465

 

 

Attn: Bankruptcy

 

 

 

 

As of the dat file, the claim is: k a
Po Box 965060 aa e@ date you file, the claim is: Check all that
Orlando, FL 32896 C1 contingent
Number, Street, City, State & Zip Code DD unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
a Debtor 1 only a An agreement you made (such as mortgage or secured
D1 Debtor 2 only car loan)
OD Debtor 4 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's tien)
0 At least one of the debtors and another §=< Judgment lien from a lawsuit
O Check if this claim relates to a D1 other (including a right to offset)
community debt
Opened
11/18 Last
Active
Date debt was incurred 12/26/18 Last 4 digits of account number 4197
Add the dollar value of your entries in Column A on this page. Write that number here: $588,932.00
If this is the last page of your form, add the dollar value totals from all pages. |
Write that number here: $588,932.00

 

 

 

[GEILE List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts In Part 1, do not fill out or submit this page.

Official Form 106D Additionat Page of Schedule D: Creditors Who Have Claims Secured by Property

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com

page 3 of 3

Best Case Bankruptcy
